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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION


FAKIH J. KHALFANI,                               §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §      Civil Action No. EP-12-CV-00422-DCG
                                                 §
BALFOUR BEATTY                                   §
COMMUNITIES, LLC,                                §
                                                 §
       Defendant.                                §                           Jury Trial Demand



                         PLAINTIFF’S AMENDED COMPLAINT



TO THE HONORABLE DAVID C. GUADERRAMA, U.S. DISTRICT JUDGE:

       COMES NOW Plaintiff, FAKIH J. KHALFANI, complaining of the Defendant,

BALFOUR BEATTY COMMUNITIES, LLC., and alleges the following:

                                          I. PARTIES

       1.       Fakih J. Khalfani (hereafter “Plaintiff” and “Mr. Khalfani”), is an African-

American/Black resident of El Paso County, Texas.

       2.       Defendant Balfour Beatty Communities, LLC (hereafter “Defendant” and

“Balfour Beatty”) has appeared and answered, and may be served with process through its attorneys

of record, Mark Dore, Michael J. DePonte, and Allyson L. Johnson.

                                      II. JURISDICTION

       3.       Mr. Khalfani has complied with all necessary administrative prerequisites.

       4.       Mr. Khalfani timely filed this lawsuit pursuant to Chapter 21 of the Texas Labor

Code and 42 U.S.C. § 1981.
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        5.       Mr. Khalfani seeks declaratory, injunctive, and equitable relief is sought pursuant to

Section 21.258 of the Texas Labor Code; compensatory and punitive damages pursuant to Section

21.2585 of the Texas Labor Code; and costs, attorney's fees and expert fees are sought pursuant to

Section 21.259 of the Texas Labor Code.

        6.       The jurisdiction of this Court has been invoked by Defendant pursuant to 28 U.S.C.

§ 1332 (Diversity Jurisdiction).

                                               III. VENUE

        7.       This action properly lies in El Paso County, Texas, because the unlawful employment

practices occurred therein.

                                                IV. FACTS

        8.       Mr. Khalfani was hired by Defendant on or about May 15, 2006. He last worked for

Defendant as a Housing Inspector.

        9.       During his employment with Defendant, Mr. Khalfani was a hard-working, dedicated

and loyal employee.

        10.      Throughout his five (5) years of employment with Defendant, Mr. Khalfani worked

in various job titles where he received positive comments about his job performance.

        11.      On or about March 2010, Mr. Khalfani was passed over and not selected to the

position of Turn-Key Supervisor. Mr. Khalfani was qualified for the position. The position was

given to a non-Black/-African-American employee.

        12.      On or about July 2010, Mr. Khalfani was removed from inspections and given a

written reprimand, without justification. The reprimand was issued by Brian Dryer, white employee,

approximately one day after Mr. Dryer began working with Defendant and/or Mr. Khalfani.

        13.      During the course and scope of his employment with Defendant, Mr. Khalfani was

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subjected to different terms and conditions of employment than those afforded to Defendant’s non-

Black/-African-American employees.

        14.      Among the different terms and conditions of employment to which Mr. Khalfani was

subjected, was the requirement that he use his own vehicle for work-related purposes, without

compensation or reimbursement provided to non-Black/-African-American employees.

        15.      Mr. Khalfani complained to upper management that he felt he was being

discriminated against and treated differently because of his race and color.

        16.      On or about August 11, 2011, Mr. Khalfani was discharged from his position of

Housing Inspector.

        17.      At the time of his termination, Mr. Khalfani was one of only two African-

American/Black employees working for Defendant. The other African-American/Black employee,

Hosea Bolden, was also discriminated against and terminated by Defendant. Mr. Khalfani was a

witness to the discrimination to which Mr. Bolden was subjected.

        18.      The person with ultimate authority over Mr. Khalfani and the terms and conditions

of his employment was Carey Kann, Community Manager. Mr. Kann is white.

        19.      Mr. Kann picked on Black/African-American and Mexican-American employees,

and gave preferential treatment to Defendant’s white employees.

        20.      The reasons given for Mr. Khalfani’s termination are pretextual.

        21.      Defendant treated non-Black/-African-American employees more favorably.

        22.      As a result of Defendant’s discriminatory and retaliatory actions, Mr. Khalfani was

unable to earn a living and support his family and he has suffered serious financial and emotional

harm as a result.




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                                   V. FIRST CAUSE OF ACTION

                                   RACE & COLOR DISCRIMINATION
                                       (Chapter 21 & § 1981)

        23.      The above allegations are re-alleged and adopted by reference.

        24.      Plaintiff asserts that his color and race (Black/African-American) were motivating

factors and consideration in Defendant’s decision to deny him a promotion, to deny Plaintiff the full

and equal benefit of all laws enjoyed by white/non-Black/non-African-American employees, and

ultimately to terminate his employment.

        25.      As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered past

and future lost wages, and past and future compensatory damages (including, but not limited to,

humiliation, inconvenience, suffering, embarrassment, loss of enjoyment of life, emotional pain,

mental anguish, and emotional distress).

        26.      Defendant acted with malice or reckless indifference to the federally- and state-

protected rights of Plaintiff, and he seeks punitive damages for this outrageous conduct.

                                 VI. SECOND CAUSE OF ACTION

                                             RETALIATION
                                         (CHAPTER 21 & § 1981)

        27.      The above allegations are re-alleged and adopted by reference.

        28.      Plaintiff asserts that Defendant’s decision to terminate his employment was carried

out, in part, as retaliation for Plaintiff having engaged in protected activity and/or opposing and

complaining about employment discrimination, as well as his association and relationship with

persons who witnessed, opposed or complained of discrimination.




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        29.      As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered past

and future lost wages, and past and future compensatory damages (including, but not limited to,

humiliation, inconvenience, suffering, embarrassment, loss of enjoyment of life, emotional pain,

mental anguish, and emotional distress).

        30.      Defendant acted with malice or reckless indifference to the state-protected rights of

Plaintiff, and he seeks punitive damages for this outrageous conduct.


                                         VII. JURY DEMAND

        31.      Mr. Khalfani requests a trial by jury.


                                      IX. PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, respectfully requests that this Honorable Court cite Defendant

to answer and appear, and upon final trial enter a judgement upon his favor and award the following:

        A.       Back pay and benefits;

        B.       Front pay and benefits, if reinstatement is not feasible;

        C.       Compensatory damages;

        D.       Punitive damages;

        E.       Costs, including reasonable expert fees and attorney's fees;

        F.       Prejudgment and post-judgment interest accruing at the maximum rate allowed by
                 law; and

        G.       Such other and further relief as the Court deems necessary, proper and equitable,
                 general or specific, to which Plaintiff may show himself to be justly entitled.

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SIGNED this 20th day of March, 2013.                        Respectfully submitted,
                                                            DOMINGUEZ & COYLE, P.L.L.C .
                                                            2515 North Stanton
                                                            El Paso, Texas 79902
                                                            (915)532-5544
                                                            (915)532-5566 Facsimile


                                                         By: /s/ Francisco X. Dominguez
                                                            FRANCISCO X. DOMINGUEZ
                                                            Texas Bar No. 00795324
                                                            Attorney for Plaintiff


                                    CERTIFICATE OF SERVICE

        I hereby certify that on March 20, 2013 I electronically filed the foregoing document with
the Clerk of Court using the CM/ECF system which will send notification of such filing to Michael
J. DePonte, Allyson L. Johnson, and Mark Dore, attorneys of record for Defendant.


                                                             /s/ Francisco X. Dominguez
                                                            FRANCISCO X. DOMINGUEZ




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